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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO

BANCRÉDITO HOLDING CORPORATION,
DERIVATIVELY ON BEHALF OF
NOMINAL DEFENDANT, BANCRÉDITO                      CIVIL NO.
INTERNATIONAL BANK & TRUST
CORPORATION,
                                                   VERIFIED SHAREHOLDER
              Plaintiff,                           DERIVATIVE COMPLAINT

       v.                                          JURY TRIAL DEMANDED

DMRA LAW LLC, MARÍA A. DOMÍNGUEZ-
VICTORIANO, FRANCES DÍAZ, ANA
FARIA, INSURANCE COMPANIES A, B, C,


              Defendants, and

DRIVEN ADMINISTRATIVE SERVICES,
LLC AS RECEIVER FOR BANCRÉDITO
INTERNATIONAL  BANK   &  TRUST
CORPORATION,

              Nominal Defendant.


                                  VERIFIED COMPLAINT

TO THE HONORABLE COURT:

       COMES NOW Bancrédito Holding Corporation (“BHC” or the “Shareholder”), through

its undersigned attorneys, and submits this Verified Shareholder Derivative Complaint against

Defendants named herein for breach of fiduciary duties and states as follows:

                                SUMMARY OF THE ACTION

       1.    This is a shareholder derivative action brought for the benefit of Nominal Defendant

Bancrédito International Bank & Trust Corporation (the “Bank” or “BIBTC”).

       2.    This derivative action is brought, in part, against Defendant Frances Díaz (“Díaz”),

the Bank’s former President, CEO and former member of the Company’s Board of Directors (the

“Board”); Ana Faria (“Faria”), the Bank’s former Chief Legal Counsel and Secretary of
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Company’s Board; and Defendant María A. Domínguez-Victoriano (“Domínguez”), one of the

Bank’s outside counsel (collectively the “Individual Defendants”) seeking to remedy their breach

of fiduciary duties during the period beginning September 23, 2021, through the present (the

“Relevant Period”).

       3.    The Shareholder discovered the scope of Individual Defendants’ breach of fiduciary

duties on or about September 2022.

       4.    Shareholder’s access to the Bank’s information has been limited since August 2022.

       5.    As a result of the foregoing, or at least in part, the Bank suffered economic damages

and is now subject to a receivership (and liquidation) by the Office of the Commissioner of

Financial Institutions (“OCIF”) of Puerto Rico and other claims against the Bank and its Directors

and Shareholder.

       6.    Díaz breached her duties of loyalty, care and good faith by: (i) failing to make full

disclosure concerning a criminal investigation while remaining employed as an officer of the Bank;

(ii) circumventing the Bank’s policies in her benefit, and (iii) misappropriation of the Bank’s

moneys.

       7.    Domínguez breached her duties of loyalty, care and good faith by (i) representing

Díaz in a matter adverse to the Bank; (ii) failing to obtain the Bank’s informed consent to represent

Díaz in a matter adverse to the Bank; (iii) utilizing privileged and confidential information

acquired through her representation of the Bank to further Díaz’s interests at the expense of the

Bank; and (iv) circumventing the Bank’s policies in her benefit.

       8.    Faría breached her duties of loyalty, care and good faith by (i) circumventing the

Bank’s policies to Díaz’s benefit; (ii) facilitating and executing an Engagement Letter in

connecting with Domínguez’s representation of Díaz at the Bank’s expense; (iii) failing to obtain

the necessary approvals to retain Domínguez.




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                                  JURISDICTION AND VENUE

        9.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a) (1). There

is complete diversity among the parties and the amount in controversy exceeds the sum or value

of $75,000, exclusive of interest and costs.

        10.   This Court has jurisdiction over each Defendant named herein because each

Defendant is either a corporation that conducts business in and maintains operations in this District

or is an individual who has sufficient minimum contacts with this District to render the exercise

of jurisdiction by this Court.

        11.   Venue is proper in this Court pursuant to 28 U.S.C. §1391(a) because (i) one or more

of Defendants either reside in or maintain executive offices in this District; (ii) a substantial portion

of the transactions and wrongs complained of herein—including Defendants’ primary participation

in the wrongful acts detailed herein and aiding in violation of fiduciary duties owed to Bank—

occurred in this District; (ii) and Defendants have received substantial compensation in this District

by doing business here and engaging in numerous activities that have an effect in this District.

                                               PARTIES

        12.   Plaintiff BHC is currently and has continuously been the sole stockholder of the

Bank. Plaintiff is a corporation duly registered under the laws of the State of New York with its

principal office located at 575 5th Avenue, Floor 14th, New York, NY 10017.

        13.   Nominal Defendant, the Bank, is a corporation duly registered under the laws of the

Commonwealth of Puerto Rico, with its principal office located at 250 Ave. Luis Muñoz Rivera,

14th Floor, Suite 1410, San Juan, 00918, Puerto Rico.

        14.   Driven Administrative Services, LLC (“Driven” or the “Receiver”) is a Limited

Liability Company duly registered under the laws of the Commonwealth of Puerto Rico, with its

principal office located at B7 Tabonuco Street, Suite 302, Guaynabo, PR 00968. Driven is the


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Bank’s Receiver.

       15.   Defendant Díaz is domiciled in Puerto Rico and was both a member of the

Company’s Board and a member of management, as CEO and President for the Relevant Period.

Upon information and belief, Díaz resides in Sabanera, Dorado, Puerto Rico.

       16.   Defendant Faría is domiciled in Puerto Rico was both the Bank’s Chief Legal

Counsel and Secretary of Company’s Board for the Relevant Period. Upon information and belief,

Faría’s address is 250 Sol Street, Apt. 4, San Juan, Puerto Rico 00901.

       17.   Defendant DMRA Law LLC (“DMRA”) is a Limited Liability Company duly

registered under the laws of the Commonwealth of Puerto Rico. Upon information and belief, all

members of DMRA are domiciled in Puerto Rico. The Puerto Rico office is located at Capital

Center Building, Torre Sur, Suite 1101, San Juan, PR 00918. DMRA served as outside counsel for

the Bank for the Relevant Period.

       18.   Upon information and belief, Defendant Domínguez is domiciled in Puerto Rico.

Domínguez is a member and employee of DMRA and as such served as outside counsel for the

Bank for the Relevant Period. Domínguez, a former federal prosecutor, is licensed to practice in

Florida and Connecticut, as well as various federal district courts, including the United States

District Court for the District of Puerto Rico. However, she is not a member of the Puerto Rico

(State) Bar, as regulated by the Puerto Rico Supreme Court.

       19.   Defendants Insurance Companies A, B & C—whose names are unknown—are

insurance entities that have insurance policies issued in favor of the codefendants Domínguez and

DMRA, that cover the damages of these defendants, that are organized pursuant to the laws of the

Commonwealth of Puerto Rico, and that are jointly and severally responsible and liable to the

Bank for the damages claimed in this Complaint. Defendants D, E & F are individuals or entities

that may be responsible and liable to the Bank for the damages claimed in this Complaint.




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                  DERIVATIVE AND PRE-SUIT DEMAND ALLEGATIONS

         20.   BHC brings this action derivatively in the right and for the benefit of the Bank to

redress injuries suffered, and to be suffered, as a direct result of breach of fiduciary duties, and

unjust enrichment of Individual Defendants.

         21.   BHC is the sole shareholder of the Bank, was the sole shareholder of Bank at the time

of the wrongdoing alleged herein and has been the sole shareholder of the Bank continuously since

that time.

         22.   BHC will adequately and fairly represent the interests of the Bank and its sole

shareholders—BHC—in enforcing and prosecuting its rights.

         23.   The Bank is named as a nominal defendant in this case solely in a derivative capacity.

This is not a collusive action to confer jurisdiction on this Court that it would not otherwise have

and, for purposes of this derivative action, there’s antagonism between the Bank and BHC.

         24.   The wrongful acts complained of herein subject—and will continue to subject —the

Bank to continuing harm because the adverse consequences of the actions are still in effect and

ongoing.

         25.   On or about August 9, 2022, BHC—along with the Bank and OCIF—entered a plan

of liquidation (the “Liquidation Plan”) and Driven was appointed as the administrator of the Bank

for the duration of the liquidation process.

         26.   On January 11, 2023, OCIF appointed Driven as Receiver for BIBTC.

         27.   On November 17, 2023, the Shareholder served Driven with a Demand Letter

requesting that Driven, as BIBTC’s Receiver, file suit against DMRA, Domínguez, Díaz, and Faría

for breach of fiduciary duties, nullity of contract, and unjust enrichment under Puerto Rico law.

See Exhibit 1.1


1
 Exhibit 1 will be filed as a separate docket entry along with a Motion to Restrict given that Exhibit 1 contains
confidential information that BHC respectfully submits should be restricted to case participants pursuant to Standing
Order No. 9.

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       28.     On December 20, 2023, Driven rejected BHC’s presuit demand. In its response,

Driven stated that it “determined that the claims stated in [BHC’s] Demand Letter are unfounded

and prosecuting such an action would result in the unnecessary dissipation of BIBTC’s assets

which are crucial to complete the remaining matters in the liquidation process.”

                                SUBSTANTIVE ALLEGATIONS

       29.     On July 24, 2013, Díaz was offered the position of General Manager of the Bank.

       30.     Díaz’s employment offer with the Bank was conditioned to the signing of a Non-

Disclosure of Confidential Information Agreement in protection of the Bank’s businesses.

       31.     Díaz accepted the employment offer on July 25, 2013, and joined the Bank on August

19, 2013, as General Manager.

       32.     Beginning in December 2019, Díaz was appointed President and Chief Executive

Officer of the Bank, as well as one of its directors.

       33. Beginning in 2018, Díaz was also a member of the Audit Committee, the Executive

Committee the BSA/AML Committee of the Bank. As the Bank’s President and CEO, Díaz

oversaw all aspects of the Bank’s operations and procedures. As the CEO of the Bank, she was

responsible for operations and policy. These operations include how the bank handles business, as

defined by OCIF and the Federal Reserve, and the Bank’s policies. Additionally, she was

answerable to the customers, shareholders, OCIF, and the Federal Reserve Bank for violations of

these policies. Moreover, she was responsible for the overall success of the operations and policy

of the Bank.

       34.     Since or around 2015, the Bank was subject to a series of routine Examinations made

by OCIF, which resulted in a Consent Order that was lifted in April 2018.

       35.     As CEO and President of the Bank, Díaz’s duties also included complying with

OCIF’s requests for documents and implement policies of improvement to fully comply with

OCFI’s demands.


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       36.   In response to OCIF’s examinations and Consent Order, beginning 2015, the Bank

retained the law firm McConnell Valdés LLC (“McV”) as outside counsel to provide legal advice

in connection therein.

       37.   One of McV’s attorneys assigned to oversee OCIF’s examinations and Consent Order

was Domínguez.

       38.   Even though Domínguez is not a licensed attorney in Puerto Rico, she provided legal

counsel to the Bank in the matters before OCIF and attended multiple meetings with OCIF’s

representatives acting as legal counsel of the Bank.

       39.   Furthermore, on May 22, 2018, while working for McV, Domínguez sent a letter to

the Federal Bureau of Investigation (“FBI”), Hato Rey, Puerto Rico Office, with the caption:

“Letter of Legal Representation- Bancrédito.”

       40.   In the letter dated May 22, 2018, Domínguez stated the following:

       Please be advised that the undersigned counsel represent [sic] Bancrédito
       International Bank (“Bancrédito”), an International Banking entity (IBE),
       established in 2008 under the laws of the Commonwealth of Puerto Rico.
       Bancrédito is regulated by the Office of the Commissioner of Financial Institutions
       of Puerto Rico (OCIF). The undersigned counsel also represent [sic] the members
       of Bancredito’s [sic] Board of Directors and Bancredito’s [sic] employees.

       41.   On July 1st, 2019, OCIF began another Examination of the Bank regarding

independent Testing, Risk Assessment, Customer Due Diligence, Enhanced Due Diligence, and

Suspicious Activity.

       42.   On or about November 2020, the Bank retained Domínguez, now through her own

law firm, DMRA, as outside counsel to provide legal advice in connection with the ongoing

Examinations brought by OCIF. Upon information and belief, Domínguez and/or DMRA never

terminated this engagement.




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        43.    In November 2020, Domínguez provided Díaz a “Memorandum” addressing the

Examinations and Consent Orders issued by OCIF noting the following:

        We suggest that Bancrédito2 begin to take a more assertive posture in defending
        against the baseless harassment by OCFI [sic], using the guise of bona fide
        Examinations as a mechanism to oppress Bancrédito and disparage its
        reputation. The facilitators of this scheme should be aware that their actions
        have invited scrutiny and that Bancrédito will avail itself of all available legal
        mechanisms to vindicate its reputation and protect itself from further
        harassment and injury.

        Bancrédito is a responsible institution that has a robust compliance program and
        a documented history of operating legally, ethically, and responsibly. The
        implacable actions of OCFI in subjecting the institution to a series of
        unwarranted Examinations and drowning the institution in expansive and
        unreasonable document requests, should not be allowed to continue with
        impunity.

        44.    Even though Domínguez is not admitted to practice law in Puerto Rico—barred from

offering any kind of legal advice in Puerto Rico (other than her licensed practice in federal court

and/or federal agencies)—she represented and provided legal advice to the Bank on matters related

to Puerto Rico laws and regarding administrative proceedings before OCIF, a Puerto Rico

government agency.

        45.     On September 23, 2021, Domínguez, through DMRA, and attorney Carlos A. Pérez

Irizarry, provided the Bank, through its Chief Legal Counsel, an Engagement Letter to represent

Díaz in a criminal investigation against her in the United States District Court for the District of

Puerto Rico (the “Engagement Letter”).

        46.     In the Engagement Letter, Domínguez stated that:

        In light that the conduct of Miss Fossé, 3 that is the object of the criminal
        investigation, arises of her position as Executive Director of Bancrédito,4 it is our
        understanding that the bank will assume the costs of her legal representation.




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  To assist this Court and for ease of reference, BHC respectfully notes that the Memorandum refers to the Bank.
3
  To assist this Court and for ease of reference, BHC respectfully notes that the letter refers to Díaz.
4
  To assist this Court and for ease of reference, BHC respectfully notes that the letter refers to the Bank.

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        47.   According to the Engagement Letter, the attorneys’ fees for representing Díaz were

set at a flat fee of $200,000.

        48.   The Bank’s Chief Legal Counsel signed the aforementioned Engagement Letter.

        49.   Among other policies, the Bank had an Accounts Payable & Purchases Policy (the

“AP Policy”).

        50.   The AP Policy, in relevant part, “provides accounting guidance for the recognition of

all major expenses that relate, directly or indirectly, to purchases in accordance with United States

Generally Accepted Accounting Principles . . . .”

        51.   The AP Policy’s purpose in part “is to communicate consistent guidance in this area

of accounting; timely payments of accounts owed by the Bank are an integral element of a safe

and sound operation. In addition, banking regulators must verify that prudent internal controls are

in place to ensure that payables and expenditures are clearly in the Bank’s best interest and are

appropriate, given the financial condition and scope of operations.”

        52.   The AP Policy also provides, in relevant part, that “proper internal controls will be

followed to ensure that only valid and authorized payables and services are recorded and paid.”

        53.   Díaz and Faría knew or should have known of the AP Policy.

        54.   The AP Policy further provides that Purchases over $150,000 must be authorized by

both the President/CEO and the COO.

        55.   In relevant part, the AP Policy further provides that “policy exceptions will be

approved by the Executive Committee and ratified by Board of Directors but under no

circumstances should exceptions deviate from USGAAP guidelines.”

        56.   Therefore, payment of the Engagement Letter would not have been subject to

approval by Díaz alone, but rather would have also required approval of the COO as well.

        57.   Instead of obtaining the requisite approvals, Díaz concealed the Engagement Letter

from the COO and the Board.


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       58.   And instead of submitting one invoice in connection with the Engagement Letter—

that surely would have been subject to appropriate scrutiny under the AP Policy—Faría, and

Domínguez submitted multiple individual invoices for smaller amounts.

       59.   On September 24, 2021, a payment was issued in the amount of $25,000.00 to DMRA

with the note “Inv 17 sept 2021 legal services to engagement.”

       60.   On September 27, 2021, another payment was issued in the amount of $50,000.00 to

DMRA.

       61.   On November 8, 2021, a payment was issued in the amount of $25,000.00 to DMRA.

       62.   In sum, upon information and belief, DMRA received at least $100,000 in connection

with legal fees related to Díaz’s representation.

       63.   DMRA, Díaz, Faría, and Domínguez converted, misappropriated, or otherwise

purported to exercise unlawful dominion and control over monies belonging to the Bank, by among

other things, causing numerous payments to be issued from the Bank in violation of the AP Policy.

       64.   Individual Defendants knowingly withheld this information from the Board in

furtherance of a broader scheme to protect Díaz in her personal capacity at the Bank’s expense.

       65.   Faría and Díaz failed to inform the COO and the Board of their unilateral decision to

retain the services of one of the Bank’s outside counsel, Domínguez, to represent Díaz in the

criminal investigation against her at the Bank’s expense. This while Díaz was still employed as

an officer of the Bank.

       66.   Faría and Díaz—whom should have been aware or were aware of the AP Policy—

facilitated a scheme in which Díaz was represented in the criminal investigation by one of the

Bank’s counsel, Domínguez, without the Bank’s knowledge as to the scope of the engagement and

at the Bank’s expense. Accordingly, the execution of the Engagement Letter did not comply with

the required approvals of both the President/CEO and COO.




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           67.   Domínguez did not disclose nor seek to obtain written consent from the Board or the

Directors to represent Díaz in the criminal investigation.

           68.   It was not until months later that the Shareholder learned about the scope of

Domínguez’s Engagement Letter to represent Díaz in a criminal investigation and how Bank’s

moneys were used to pay for said engagement.

           69.   These details were withheld from the Shareholder by Bank officers, and it was not

until on or about September 2022 that the Shareholder learned about them through an independent

audit.

           70.   On February 25, 2022, Díaz abruptly resigned alleging “extraordinary

circumstances” that, according to her, hindered her ability to accomplish her functions duly and

responsibly in the Bank.

           71.   On February 28, 2022, Díaz entered into a plea agreement,5 which Domínguez signed

as counsel of Díaz.

           72.   In the plea agreement, Díaz admitted her guilt as charged in the Information.

           73.   While she was employed by the Bank, Díaz never disclosed the scope of the

investigation to the Bank. She should have resigned as soon as her personal interests conflicted

with her duty as an officer of the Bank. Instead, she continued collecting a salary and benefits

from the Bank, only to resign three days before she entered into a plea agreement.

           74.   Furthermore, according to Díaz, Domínguez instructed her not to disclose to the Bank

or its Directors the particulars of the criminal investigation or the plea agreement. Since before

her engagement to represent Díaz, Domínguez represented the Bank. Upon information and belief,

that representation was never terminated. Consequently, she had a duty of loyalty to the Bank. In

case of a conflict between her duties to the Bank and Díaz, Domínguez had to resign.




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    BHC requests this Court to take judicial notice of USA v. Frances M. Díaz, Crim. No. 085 (FAB), Docket #5.

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          75.   On or about August 9, 2022, BHC—along with the Bank and OCIF—entered a

Liquidation Plan which, inter alia, appointed Driven as administrator of the Bank.

                                           COUNT I
                    Breach of Fiduciary Duty: Good Faith and Duty of Loyalty
                              (Against Díaz, Faría and Domínguez)

          76.   BHC incorporates and re-alleges the allegations set forth in paragraphs 1 through 75

above as if fully set forth herein.

          77.   Díaz was the Bank’s President and CEO and Board member during the Relevant

Period.

          78.   Faría was both the Bank’s chief Legal Counsel and Secretary of the Board for the

Relevant Period.

          79.   Domínguez was one of the Bank’s outside counsel.

          80.   All attorneys owe duties to their clients, including but not limited to continued

confidentiality, and the duty to not represent other parties with adverse interests absent the

informed consent of the client.

          81.   Domínguez did not obtain the Bank’s informed consent nor a waiver of conflict to

represent Díaz in a matter adverse to the Bank.

          82.   Upon information and belief, Domínguez used privileged and confidential

information she acquired through her representation of the Bank to further Díaz’s interests at the

expense of the Bank.

          83.   At all relevant times, Faría, Díaz, and Domínguez owed a fiduciary duty to the Bank,

including duties of loyalty and candor.

          84.   The Bank deposited its trust and confidence in Díaz, Faría, and Domínguez to provide

advice and counsel and to protect its interests.

          85.   Faría, Díaz and Domínguez accepted the Bank’s trust and assumed a duty to advise,

counsel and protect the interests of the Bank.


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       86.   Faría, Díaz and Domínguez breached their fiduciary duties by, inter alia, failing to

protect the Bank’s interests, self-dealing, and breaching the AP Policy by hiding the conflict

representation of Díaz from the Bank while having the Bank unknowingly pay for it.

       87.   As a direct and proximate result of their breach, the Bank suffered damages.

                                        COUNT II
                                    Nullity of Contract
                         (Against DMRA, Domínguez, Faria and Díaz)

       88.     BHC incorporates and re-alleges the allegations set forth in paragraphs 1 through

87 above as if fully set forth herein.

       89.     According to the AP Policy Purchases, the Engagement Letter required

authorization of both the Bank’s President/CEO and the COO.

       90.     The Engagement Letter was not authorized by the COO.

       91.     The Engagement Letter was signed solely by Faria, the Bank’s former Chief Legal

Counsel, who had no authority to sign it without first obtaining the required approvals under the

AP Policy.

       92.   Domínguez did not obtain the Bank’s informed consent nor a waiver of conflict to

represent Díaz in a matter adverse to the Bank.

       93.     Faría, Díaz, and Domínguez knowingly and intentionally concealed from the COO

the execution of the Engagement Letter and the scope of representation.

       94.     Faría, Díaz knew of and facilitated the execution of an Engagement Letter to retain

Domínguez—the Bank’s counsel—to represent Díaz in the criminal investigation. The Bank’s

governing body and the COO were not made aware of the Engagement or its scope, nor were

they aware that Dominguez represented Diaz as part of an investigation—whose underlying facts

also involved the Bank—at the Bank’s expense.

       95.     Díaz, Faria, DMRA, and Domínguez concealed the Engagement Letter from the

Bank’s COO by circumventing the AP Policy. The execution of the Engagement Letter did not


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comply with the required approvals of both the President/CEO and COO as set forth in the AP

Policy and, thus, their actions constitute “dolo.”

         96.     As a result of their actions, the Bank unknowingly paid for Díaz’s attorney’s fees.

         97.     Because the Engagement Letter was executed in contravention of the AP policy

requiring both the approval of the President/CEO and the Bank’s COO, the Engagement Letter is

null and void.

                                              COUNT III
                                        Unjust Enrichment
                              (Against DMRA, Domínguez, and Díaz)

         98.     BHC incorporates and re-alleges the allegations set forth in paragraphs 1 through

97 above as if fully set forth herein.

         99.     During the Relevant Period, Díaz, DMRA and Domínguez unjustly enriched

themselves by wrongfully converting, taking, utilizing the moneys of the Bank.

         100. Such acts and omissions leading to the DMRA’s, Díaz’s and Domínguez’s unjust

enrichment were the actual and proximate cause of harm to the Bank.

         101. Accordingly, DMRA and Domínguez are liable in damages to the Bank amounting

to at least $100,000, the exact amount to be proven at trial, arising out of said defendants’ unjust

enrichment.

                                         PRAYER FOR RELIEF

         WHEREFORE, BHC demands judgment for the benefit of Driven as Receiver for Nominal

Defendant Bancrédito International Bank & Trust Corporation as follows:

     •         Directing Individual Defendants to account to Bank for all damages sustained or to

               be sustained by the Bank by reason of the wrongs alleged herein.

     •         Deem the Engagement Letter null.

     •         Awarding the Bank restitution from the Defendants and ordering disgorgement of all

               profits, benefits and other compensation obtained by the Defendants.

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    •       Awarding BHC, the costs and disbursements of this action, including reasonable

            attorneys’ and experts’ fees and expenses.

    •       Granting such other and further relief as the Court may deem just and proper.

        RESPECTFULLY SUBMITTED, in San Juan, Puerto Rico, this 23rd day of January,

2024.

                                                                              ESTRELLA, LLC
                                                                             s/Alberto G. Estrella
                                             Alberto G. Estrella, Esq. (USDC-PR Bar No. 209804
                                                                        USDC-PR Bar No. 209804
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                                                                    s/Eddalee Quiñones-Pedrogo
                                                                      Eddalee Quiñones-Pedrogo
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                                                                            s/Stephanie M. Vilella
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                                                    Counsel for Bancrédito Holding Corporation




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